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                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
Case No: 20-cv-06754-WHA
Case Name: Sonos, Inc. v. Google, LLC

                           TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                            PLAINTIFFS ATTORNEYS:                     DEFENSE ATTORNEYS:
 William Alsup                     Sean Sullivan, Alyssa Caridis, Dan        Sean Pak, Melissa Baily, Iman
                                   Smith, Cole Richter, Rory Shea,           Lordgooei, James Judah,
                                   Clem Roberts, Elizabeth Moulton,          Jocelyn Ma, Jason Williams.
                                   Joseph Kolker.
 TRIAL DATE:                       REPORTER(S):                              CLERK:
 05/19/2023                        Marla Knox                                Angella Meuleman

 PLF      DEF       DATE/TIME
 NO.      NO.       OFFERED   ID REC DESCRIPTION                                         BY
                    6:40 a.m.        Court in session. Charging conference with parties.
                                     Objections discussed. Court ruled as stated on the
                                     record.
                    7:25 a.m.        Court in recess.
                    8:27 a.m.                   Court reconvened. Housekeeping matters discussed
                                                outside presence of jury.
                    8:30 a.m.                   Jury present. Court discusses with jury the protocol
                                                for closings and jury instructions.
                    8:33 a.m.                   Court reads preliminary jury instructions to jury.
                    8:49 a.m.                   Closing statement on behalf of Sonos, Inc. presented
                                                by Sean Sullivan.
                    9:43 a.m.                   Jury excused for break. Further objections discussed
                                                outside presence of jury.
                    9:48 a.m.                   Court in recess.
                    9:58 a.m.                   Court reconvened.
                    9:59 a.m.                   Jury present.
                    10:00 a.m.                  Closing argument on behalf of Google, Inc. presented
                                                by Sean Pak.
                    10:58 a.m.                  Jury excused for break.
                    10:59 a.m.                  Court in recess.
                    11:12 a.m.                  Court reconvened. Court further instructs jury re:
                                                rebuttal arguments.
                    11:15 a.m.                  Rebuttal argument on behalf of Sonos, Inc. presented
                                                by Sean Sullivan.
                    11:25 a.m.                  Rebuttal argument on behalf of Google, Inc. presented
                                                by Sean Pak.
                    11:40 a.m.                  Court reads final jury instructions to the jury.
                    12:40 p.m.                  Jury retires to deliberations.
                    12:42 p.m.                  Court in recess.

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